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                      12                                         UNITED STATES DISTRICT COURT

                      13                                             DISTRICT OF NEVADA

                      14     KEYHERRA GREEN ,                                    Case No.    2:20-cv-00769-KJD-DJA

                      15                           Plaintiff,
                             vs.                                                      STIPULATION TO EXTEND
                      16                                                          DISCOVERY [EXPERT DISCLOSURE
                             LAS VEGAS METROPOLITAN POLICE                                  DEADLINE]
                      17     DEPARTMENT; FRED MERRICK; LORA
                             CODY; and DOES 1-10, inclusive,                                    (Sixth Request)
                      18
                                                   Defendants.
                      19

                      20                IT IS HEREBY STIPULATED AND AGREED between the parties that the current

                      21     deadline for disclosure of experts, be continued for a period of sixty (60) days up to and including

                      22     January 4, 2022, for the purpose of allowing the parties to finish responding to written discovery,

                      23     to allow for responses to various third-parties and to finish taking the depositions of the parties.

                      24     Experts will need additional time to review the materials and prepare their expert reports.

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                         1      I.      DISCOVERY COMPLETED TO DATE

                         2              The parties have exchanged their initial Rule 26 Disclosures and multiple Supplemental

                         3   Disclosures.              Plaintiff has responded to written discovery (Interrogatories, Requests for

                         4   Admissions, Requests for Production of Documents) propounded by each of the Defendants. Each

                         5   Defendant has responded to numerous written discovery requests from Plaintiff. The parties had

                         6   discovery disputes and LVMPD Defendants filed a Motion for Protective Order which this Court

                         7   granted. [ECF No. 60].

                         8              The deposition of Defendant Merrick has been taken. The LVMPD Defendants served

                         9   numerous third-party subpoenas; many out of state which responses were received and

                      10     supplemental disclosures were made.               The LVMPD Defendants recently served additional

                      11     Subpoenas to more out of state third-parties and are waiting for responses.

                      12      II.       DISCOVERY YET TO BE COMPLETED

                      13             The LVMPD Defendants will be reviewing all of their prior discovery responses and providing

                      14     any outstanding information/documents to Plaintiff after an agreement between Counsel. The

                      15     LVMPD Defendants are waiting for responses to out of state third-party Subpoenas served.

                      16             The depositions of Defendant Cody and Plaintiff still need to be taken, as well as 30(b)(6)

                      17     deposition(s). Counsel will be discussing availability and possible dates for depositions directly.

                      18             Upon receipt of additional materials and deposition transcripts, the parties’ experts will prepare

                      19     their reports and they will be disclosed.

                      20     III.       REASONS WHY REMAINING DISCOVERY HAS NOT BEEN COMPLETED

                      21                As this Court is well aware of the history concerning discovery in this matter, it is aware

                      22     that substantial discovery has been conducted. However, due to deadlines in other non-related

                      23     matters as well as preparing for multiple Trials in other cases, there has been some delay in

                      24     finalizing discovery that is needed for experts to review and finalize their reports. Because of this

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                         1   the parties are presently seeking an extension of only the expert disclosure deadline. Should the

                         2   parties require additional time to complete discovery generally, they will request it at a later date.

                         3              PROPOSED EXTENDED DEADLINES

                         4              The parties respectfully request this Court enter an order as follows:

                         5              (A)        Discovery Deadline.

                         6              The parties do not seek an extension of this deadline and it shall remain to be January 4,

                         7   2022.

                         8              (B)        Experts and Rebuttal Experts.

                         9              The parties shall disclose expert reports on or before January 4, 2022. The parties will

                      10     seek an extension of the deadline to disclose rebuttal experts at a later date if necessary.

                      11                (C)        Dispositive Motions.

                      12                The parties are not currently seeking an extension of this deadline. All pretrial motions,

                      13     including but not limited to, discovery motions, motions to dismiss, motions for summary

                      14     judgment, and all other dispositive motions shall be filed and served no later than thirty (30) days

                      15     after the close of discovery, or by February 3, 2022.

                      16                (D)        Motions in Limine/Daubert Motions.

                      17                Under LR 16-3(b), any motions in limine, including Daubert motions, shall be filed and

                      18     served 30 days prior to the commencement of Trial. Oppositions shall be filed and served and the

                      19     motion submitted for decision 14 days thereafter. Reply briefs will be allowed only with leave of

                      20     the Court.

                      21                (E)        Pretrial Order.

                      22                The parties are not currently seeking an extension of this deadline. Pursuant to LR

                      23     26(1)(e)(5), the Joint Pretrial Order shall be filed with this Court no later than thirty (30) days after

                      24     the date set for filing dispositive motions, or by March 7, 2022, unless dispositive motions are

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                         1   filed, in which case the date for filing the Joint Pretrial Order shall be suspended until 30 days after

                         2   the decision on the dispositive motions or further order of this Court. The disclosures required by

                         3   Fed. R. Civ. P. 26(a)(3) and any objections shall be included in the final pretrial order.

                         4              (F)    Extensions or Modification of the Discovery Plan and Scheduling Order.
                                                               26-3
                         5              In accordance with LR 26-4, applications to extend any date set by the discovery plan,

                         6   scheduling order, or other order must, in addition to satisfying the requirements of LR 6-1, be

                         7   supported by a showing of good cause for the extension. All motions or stipulations to extend a

                         8   deadline set forth in a discovery plan shall be received by the Court not later than 21 days before

                         9   the expiration of the subject deadline. A request made after the expiration of the subject deadline

                      10     shall not be granted unless the movant demonstrates that the failure to set was the result of

                      11     excusable neglect. Any motion or stipulation to extend a deadline or to reopen discovery shall

                      12     include:

                      13                (a)        A statement specifying the discovery completed;

                      14                (b)        A specific description of the discovery that remains to be completed;

                      15                (c)        The reasons why the deadline was not satisfied or the remaining discovery was not

                      16     completed within the time limits set by the discovery plan; and

                      17                (d)        A proposed scheduled for completing all discovery.

                      18     ///

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                      23     ///

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                         1              This request for an extension is made in good faith and joined by all the parties in this case.

                         2   The Request is timely pursuant to LR 26-3. Trial is not yet set in this matter and dispositive

                         3   motions have not yet been filed. Accordingly, this extension will not delay this case. Moreover,

                         4   since this request is a joint request, neither party will be prejudiced. The extension will allow the

                         5   parties the necessary time to complete discovery.

                         6              DATED this 18th day of October, 2021.

                         7    KAEMPFER CROWELL                                       PETER GOLDSTEIN LAW CORP

                         8    By:       /s/ Lyssa S. Anderson                        By:   /s/ Peter Goldstein
                                        LYSSA S. ANDERSON                                  Peter Goldstein
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                      11                Las Vegas, Nevada 89135                            MALCOM P. LAVERGNE & ASSOC.
                                        Attorneys for Defendant                            Malcom P. LaVergne
                      12                Las Vegas Metropolitan Police                      Nevada Bar No. 10121
                                        Department, Fred Merrick; and                      400 S. Fourth St.
                      13                Lora Cody                                          Las Vegas, NV 89101
                                                                                           Attorneys for Plaintiff
                      14

                      15

                      16                IT IS SO ORDERED.

                      17                           19th day of October, 2021.
                                        DATED this ____

                      18

                      19                                                         UNITEDJ.STATES
                                                                                DANIEL          DISTRICT COURT JUDGE
                                                                                          ALBREGTS
                                                                                UNITED STATES MAGISTRATE JUDGE
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